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                           UNITED STATES DISTRICT COURT                             '?A r<ZLq yl6D/IttL(
                              DISTRICT OF MINNESOTA


 UNITED STATES OF AMERICA,                              INDICTMENT

                        Plaintiff,                      l8 U.s.c. $ e22(e)(l)
                                                        18 u.s.c. s eza@)Q)
         v.                                             l8 u.s.c. $ e24(dxl)
                                                        28 U.S.c. $ 2a6l(c)
 DEMETRIUS DEMARCO SPENCER,

                        Defendant.


       TIIE UNITED STATES GRA}TD JURY CHARGES THAT:

                                          COUNT    T
                              (Felon in Possession of a Firearm)

       On or about July 22,2020, in the State and District of Minnesota, the defendant,

                          DEMETRTUS DEMARCO SPENCE&

having previously been convicted of the following crimes, each of which was punishable

by imprisonment for a term exceeding one year, namely,

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                                                                   Date:oi'Codiviction,
                                                                   ,fdn dr About),
 Felon in Possession of a
                                     Ramsey County, MN             December 15,2000
 Firearm

 Felon in Possession of a
                                     Hennepin'County, MN           July 31,2003
 Firearm

 First Degree Aggravated
                                     Hennepin County, MN           September 11,2007
 Robbery

 Third Degree Assault                Hennepin County, MN           Septembe     r   12,2007

 Felon in Possession of a            Federal District   of         September 4,2013
 Firearm                             Minnesota



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 /\-rt:                                  :BlaGeufiConviction---        rD.ate'of,O-onviition'
                                                                       ,'(Ohror'About)r
 Third Degree Controlled
                                         Ramsey County, MN              August 6,2019
 Substance Possession


and knowing that he had been convicted of at least one crime punishable by imprisonment

for   a   term exceeding one year, knowingly possessed, in and affecting interstate commerce,

a firearm, that is, a Kahr model PM9, 9mm semi-automatic handgun, bearing serial number


VB4l35, in violation of Title 18, United States Code, Sections 922(g(l) and924(a)(2).

                               FORFEITURE ALLEGATIONS

           If convicted of Count I of this Indictment. the defendant.

                            DEMETRIUS DEMARCO SPENCER,

shall forfeit to the United States any fnearms, accessories and ammunition involved in or

used in connection with each such violation including, but not limited to, a Kahr model

PM9, 9mm semi-automatic handgun, bearing serial number VB4l35, and all ammunition

seized therewith, pursuant to    Title   18,   United States Code, Section 924(dXl), and Title 28,

United States Code, Section 2a6l@).

                                           A TRUE BILL




UNITED STATES ATTORNEY                                   FOREPERSON
